                              Case 24-12017-CTG                  Doc 1          Filed 09/11/24     Page 1 of 33

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 District of Delaware
            (State)
 Case number (If known):                                Chapter 11
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                    06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtors name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1. Debtors name                          BurgerFi International, Inc.


 2. All other names debtor used               d/b/a BurgerFi
   in the last 8 years
                                              d/b/a Anthony's Coal Fired Pizza
     Include any assumed names,
     trade names, and doing business          d/b/a Anthony's Coal Fired Pizza & Wings
     as names
                                                  f/k/a Opes Acquisition Corp.

 3. Debtors federal Employer
   Identification Number (EIN)              XX-XXXXXXX




 4. Debtors address                       Principal place of business                           Mailing address, if different from principal place
                                                                                                 of business

                                           200 E Las Olas Blvd
                                           Number       Street                                   Number      Street


                                           Suite 1400
                                                                                                 P.O. Box

                                           Ft Lauderdale, FL 33301
                                           City         State        ZIP Code                    City       State           ZIP Code


                                                                                                 Location of principal assets, if different from
                                                                                                 principal place of business

                                           Broward
                                           County                                                Number Street




                                                                                                 City               State        ZIP Code




 5. Debtors website (URL)




 Company Code:
                                Case 24-12017-CTG                Doc 1         Filed 09/11/24             Page 2 of 33

Debtor    BurgerFi International, Inc.                                          Case Number (if known) ___________________________



 6. Type of debtor                          Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify:


                                         A. Check one:
 7. Describe debtors business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                         B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             7225

 8. Under which chapter of the           Check one:
    Bankruptcy Code is the
                                            Chapter 7
    debtor filing?
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                              Debtors aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                              4/01/25 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                              chooses to proceed under Subchapter V of Chapter 11.

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                            Chapter 12

 9. Were prior bankruptcy cases             No
    filed by or against the debtor
                                            Yes. District                                When                     Case number
    within the last 8 years?
                                                                                                 MM / DD / YYYY
     If more than 2 cases, attach a
                                                  District                               When                     Case number
     separate list.
                                                                                                 MM / DD / YYYY




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
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Debtor     BurgerFi International, Inc.                                         Case Number (if known) ___________________________


 10. Are any bankruptcy cases                No
    pending or being filed by a
                                             Yes. Debtor See Schedule 1                                          Relationship Affiliates
    business partner or an
    affiliate of the debtor?                       District Delaware                                             When          9/11/2024
                                                                                                                                MM / DD / YYYY
     List all cases. If more than 1,
     attach a separate list.                       Case number, if known




 11. Why is the case filed in this        Check all that apply:
    district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                             A bankruptcy case concerning debtors affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have              No
    possession of any real                    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal
    property that needs                           Why does the property need immediate attention? (Check all that apply.)
    immediate attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?

                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                       Other



                                                  Where is the property?
                                                                               Number          Street




                                                                               City                                            State ZIP Code


                                                   Is the property insured?
                                                       No
                                                       Yes. Insurance agency

                                                               Contact name

                                                               Phone




             Statistical and administrative information



 13. Debtors estimation of               Check one:
    available funds                          Funds will be available for distribution to unsecured creditors.
    (Consolidated)                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.



                                             1-49                              1,000-5,000                                25,001-50,000
 14. Estimated number of                     50-99                             5,001-10,000                               50,001-100,000
    creditors
                                             100-199                           10,001-25,000                              More than 100,000
    (Consolidated)
                                             200-999

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 3
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Debtor    BurgerFi International, Inc.                                                Case Number (if known) ___________________________




 15. Estimated assets                       $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
    (Consolidated)                          $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion


                                             $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
    (Consolidated)
                                             $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                             $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of
                                             petition.
    debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                             I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on       9/11/2024
                                                              MM / DD / YYYY


                                              /s/ Jeremy Rosenthal                                        Jeremy Rosenthal
                                             Signature of authorized representative of debtor            Printed name


                                             Title Chief Restructuring Officer




 18. Signature of attorney
                                               /s/ Thomas J. Francella, Jr.                              Date          9/11/2024
                                             Signature of attorney for debtor                                        MM / DD / YYYY

                                             Thomas J. Francella, Jr.

                                             Printed name
                                             Raines Feldman Littrell LLP
                                             Firm name
                                             1200 North Broom Street
                                             Number           Street
                                             Wilmington, DE 19806
                                             City     State      ZIP Code

                                             302-772-5805                                              tfrancella@raineslaw.com

                                             Contact phone                                             Email address

                                             3835                                                            Delaware

                                             Bar number                                                      State



 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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                                            Schedule 1

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities listed below (collectively, the Debtors) filed a
petition in the United States Bankruptcy Court for the District of Delaware for relief under chapter
11 of title 11 of the United States Code. The Debtors have moved for joint administration of these
cases under the case number assigned to the chapter 11 case of BurgerFi International, Inc.

       BurgerFi International, Inc. BurgerFi                 BF Neptune Beach, LLC
       International, LLC                                    BF Orlando-Dr. Phillips, LLC
       BurgerFi IP, LLC                                      BF Miami Beach - Meridian, LLC
       BF Restaurant Management, LLC                         BF Miami Lakes, LLC
       Anthony's Pizza Holding Company,                      BF Miramar LLC
       LLC                                                   BF Odessa, LLC
       ACFP Management, Inc.                                 BF Tampa Bay, LLC
       Hot Air, Inc.                                         BF Tampa - Channelside, LLC
       Plastic Tripod, Inc.                                  BF Tampa - Westchase, LLC
       BurgerFi Management Services,                         BF Tallahassee Varsity, LLC
       LLC                                                   BF Hendersonville, LLC
       BurgerFi Enterprises, LLC                             BF Hermitage LLC
       BF Altamonte Springs, LLC                             BurgerFi-Delray Beach, LLC
       BF Coral Springs, LLC                                 UES NY BurgerFi, LLC
       BF City Place-West Palm, LLC                          BF Naples Immokalee, LLC
       BF Food Truck, LLC                                    BF Naples Tamiami, LLC
       BF West Delray, LLC                                   BF Secaucus LLC
       BF LBTS, LLC                                          BF Commack, LLC
       BF Pembroke Pines, LLC                                BF NY 82, LLC
       BGM Pembroke Pines, LLC                               ACFP/NYNJ Ventures LLC
       BF Jacksonville Town Center, LLC                      BH Sauce, LLC
       BF Jacksonville Riverside, LLC                        Anthony's Coal Fired Pizza of
       BF Delray- Linton, LLC                                Horsham, LLC
       BF Pines City Center, LLC                             Anthony's Coal Fired Pizza of
       BF Dania Beach, LLC                                   Wayne, LLC
       BF Fort Myers - Daniels, LLC                          Anthony's Coal-Fired Pizza of
       BF Boca Raton - Boca Pointe, LLC                      Monroeville, LLC
       BF Boca Raton, LLC                                    Anthony's Coal-Fired Pizza of
       BF Atlanta - Perimeter MarketPlace,                   Settler's Ridge, LLC
       LLC                                                   Anthony's Coal Fired Pizza of
       BF Hallandale Beach, LLC                              Cranberry, LLC
       BF Miami Beach-Collins, LLC                           Anthony's Coal Fired Pizza of
       BF PBG, LLC                                           McMurray, LLC
       BF Jupiter - Indiantown, LLC                          Anthony's Coal Fired Pizza of Exton,
       BF Wellington, LLC                                    LLC


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      Anthony's Coal Fired Pizza of                       Anthony's Coal Fired Pizza of
      Wyomissing, LLC                                     Pinecrest, LLC
      Anthony's Coal Fired Pizza of                       Anthony's Coal Fired Pizza of
      Wynnewood LLC                                       Wellington, LLC
      Anthony's Coal Fired Pizza of                       Anthony's Coal Fired Pizza of Miami
      Trexlertown LLC                                     Lakes, LLC
      Anthony's Coal Fired Pizza of Blue                  Anthony's Coal Fired Pizza of
      Bell LLC                                            Kendall, LLC
      Anthony's Coal Fired Pizza of                       Anthony's Coal Fired Pizza of North
      Cranston LLC                                        Tampa, LLC
      Anthony's Coal Fired Pizza of                       Anthony's Coal Fired Pizza of
      Natick, LLC                                         Clearwater, LLC
      Anthony's Coal Fired Pizza of West                  Anthony's Coal Fired Pizza of Sand
      Palm Beach LLC                                      Lake, LLC
      Anthony's Coal Fired Pizza of                       Anthony's Coal Fired Pizza of
      Bethesda LLC                                        Brandon, LLC
      Anthony's Coal Fired Pizza of Pike                  Anthony's Coal Fired Pizza of
      Creek, LLC                                          Altamonte Springs, LLC
      Anthony's Coal Fired Pizza of                       Anthony's Coal Fired Pizza of East
      Wilmington, LLC                                     Boca LLC
      Anthony's Coal Fired Pizza of                       ACFP Boca MGT LLC
      Aventura, LLC                                       Anthony's Coal Fired Pizza of North
      Anthony's Coal Fired Pizza of Boca                  Lauderdale LLC
      Raton, LLC                                          Anthony's Coal Fired Pizza of North
      Anthony's Coal Fired Pizza of Coral                 Miami LLC
      Springs, LLC                                        Anthony's Coal Fired Pizza of
      Anthony's Coal Fired Pizza of                       Miramar LLC
      Pembroke Pines, LLC                                 Anthony's Coal Fired Pizza of
      Anthony's Coal Fired Pizza of Palm                  Delray Beach, LLC
      Beach Gardens, LLC                                  Anthony's Coal Fired Pizza of
      Anthony's Coal Fired Pizza of                       Littleton LLC
      Plantation, LLC                                     Anthony's Coal Fired Pizza of
      Anthony's Sports Bar And Grill,                     Westwood LLC
      LLC                                                 Anthony's Coal Fired Pizza of
      Anthony's Coal Fired Pizza of                       Reading LLC
      Weston, LLC                                         Anthony's Coal Fired Pizza of
      Anthony's Coal Fired Pizza of Stuart                Clifton, LLC
      LLC                                                 Anthony's Coal Fired Pizza of
      Anthony's Coal Fired Pizza of Coral                 Edison LLC
      Gables, LLC                                         Anthony's Coal Fired Pizza of
      Anthonys Coal-Fired Pizza, LLC                     Livingston LLC
      Anthony's Coal Fired Pizza of South                 Anthony's Coal Fired Pizza of
      Tampa, LLC                                          Ramsey, LLC
      Anthony's Coal Fired Pizza of Doral                 Anthony's Coal Fired Pizza of Fair
      LLC                                                 Lawn, LLC

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      Anthony's Coal Fired Pizza of
      Wayne NJ LLC
      Anthony's Coal Fired Pizza of
      Marlboro LLC
      Anthony's Coal Fired Pizza of Mount
      Laurel, LLC
      Anthony's Coal Fired Pizza of
      Springfield LLC
      Anthony's Coal Fired Pizza of
      Commack LLC
      Anthony's Coal Fired Pizza of Carle
      Place, LLC
      Anthony's Coal Fired Pizza of
      Woodbury, LLC
      Anthony's Coal Fired Pizza of
      Wantagh, LLC
      Anthony's Coal Fired Pizza of
      Bohemia, LLC




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                             UNANIMOUS WRITTEN CONSENT
                             OF THE BOARD OF DIRECTORS OF
                             BURGERFI INTERNATIONAL, INC.

                                        September 10, 2024

       The undersigned, constituting all of the members of the Board of Directors (the Board)
of BurgerFi International, Inc., a Delaware corporation (the Company), pursuant to
Section 141(f) of the Delaware General Corporation Law, hereby adopt the following resolutions
by unanimous written consent:

        WHEREAS, the Board has reviewed and considered the financial and operational
condition of the Company and its business on the date hereof, including its historical performance,
its assets and prospects, its current and future liquidity needs, its lease portfolios, and its current
and long-term liabilities; and

       WHEREAS, the Board has reviewed and considered reports of management and the
Companys legal and financial advisors regarding, and has considered and discussed, the
Companys financial condition and the strategic alternatives available to it, and the impacts of the
foregoing on the Companys business, assets and stakeholders; and

       WHEREAS, the Board has determined that it is advisable and in the best interests of the
Company to pursue relief under the provisions of chapter 11 of Title 11 of the United States Code,
11 U.S.C. §§ 101 et seq. (the Bankruptcy Code).

       NOW, THEREFORE, BE IT:

       1.      Commencement of Chapter 11 Case

       RESOLVED, that the Company file, or cause to be filed, a voluntary petition for relief
under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of
Delaware (the Bankruptcy Court) and perform any and all such acts as are reasonable,
advisable, expedient, convenient, proper or necessary to effect the foregoing; and it is further

        RESOLVED, that Jeremy Rosenthal, Chief Restructuring Officer of the Company (the
CRO or the Authorized Person) be, and hereby is, authorized, empowered, and directed,
with full power of delegation, to negotiate, execute, deliver, and file with the Bankruptcy Court,
in the name and on behalf of the Company, and under its corporate seal or otherwise, all plans,
petitions, schedules, statements, motions, lists, applications, pleadings, papers, affidavits,
declarations, orders and other documents; and it is further

        RESOLVED, that the Authorized Person be, and hereby is, authorized, empowered, and
directed, with full power of delegation, in the name and on behalf of the Company, to take and
perform any and all further acts and deeds that the Authorized Person deems necessary,
appropriate, or desirable in connection with the Companys bankruptcy case and in furtherance of
the restructuring of the Companys debts and obligations, all as consistent with these resolutions
and to carry out and put into effect the purposes of these resolutions, and the transactions


                                                   1
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contemplated by these resolutions, their authority thereunto to be evidenced by the taking of such
actions; and it is further

       2.      Retention of Advisors

        RESOLVED, that the following professionals be engaged and retained on behalf of the
Company: (i) Raines Feldman Littrell LLP as general bankruptcy counsel; (ii) Force Ten Partners
LLC to provide Jeremy Rosenthal to serve as the CRO and provide personnel in support of the
CRO; (iii) an investment banker, if deemed necessary or appropriate by the Authorized Person;
and (iv) Bankruptcy Management Solutions, Inc. d/b/a Stretto as claims and noticing agent; each
to represent and assist the Company in carrying out its duties and responsibilities under the
Bankruptcy Code and applicable law, and to take any and all actions to advance the Companys
rights and interests (including, without limitation, the law firms filing any pleadings and responses,
and making any filings with regulatory agencies or other governmental authorities); and it is
further

       RESOLVED, that the Authorized Person be, and hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company, to execute appropriate retention
agreements with and pay appropriate retainers to the foregoing professionals and such other
professionals as they deem necessary, appropriate or desirable, upon such terms and conditions as
they shall approve, to render services to the Company, and to cause to be filed appropriate
applications for authority to retain the services of such professionals; and it is further

       3.      Financing

         RESOLVED that the Authorized Person be, and hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company, to negotiate and obtain postpetition
financing and/or use of cash collateral, including under one or more debtor-in-possession credit
facilities, as the Authorized Person deems necessary, appropriate, or desirable in connection with
the Companys bankruptcy case and to carry out and put into effect the purposes of these
resolutions; and to enter into any guarantees and to pledge and grant liens on the Companys assets
in support of such financing, and in connection therewith to execute appropriate loan agreements
and related ancillary documents; with the actions of the Authorized Person taken pursuant to this
resolution, including the execution, acknowledgement, delivery and verification of all such
financing related documents, being deemed conclusive evidence of the approval and the necessity,
desirability or appropriateness thereof; and it is further

       RESOLVED that the Authorized Person be, and hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company, to take all such further actions,
including, without limitation, to pay or approve the payment of all fees and expenses payable in
connection with any such financing transaction(s) and all fees and expenses incurred by or on
behalf of the Company in connection with these resolutions, in accordance with the terms of any
financing related documents, which shall in its sole judgment be necessary, appropriate, or
desirable to perform any of the Companys obligations under or in connection with such financing
arrangements and to carry out fully the intent of these resolutions; and it is further




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       4.      General

        RESOLVED, that the Authorized Person, be, and hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company, authorized, empowered, and directed,
with full power of delegation, in the name and on behalf of the Company, to take and perform any
and all further acts or deeds, including (a) the negotiation of such additional agreements,
amendments, modifications, supplements, consents, waivers, reports, documents, instruments,
applications, notes or certificates not now known but which may be required, (b) the execution,
delivery, performance and filing (if applicable) of any of the foregoing, and (c) the payment of all
fees, consent payments, taxes, indemnities and other expenses, as the Authorized Person, in his
sole discretion, may approve or deem necessary, appropriate, or desirable to carry out the intent
and accomplish the purposes of the foregoing resolutions and the transactions contemplated
thereby, all of such actions, executions, deliveries, filings, and payments to be conclusive evidence
of such approval or that the Authorized Person deemed the same to meet such standard; and it is
further

        RESOLVED, that to the extent that the Company serves as the sole member, managing
member, general partner, partner or other governing body of any other company (an Affiliate),
the Authorized Person hereby is authorized, empowered and directed in the name and on behalf of
the Company to take all of the actions on behalf of such Affiliate that the Authorized Person is
herein authorized to take on behalf of the Company; and it is further

        RESOLVED, that any person dealing with the Authorized Person in connection with any
of the foregoing matters shall be conclusively entitled to rely upon the authority of the Authorized
Person and by his execution of any document, agreement or instrument, the same to be a valid and
binding obligation of such Company enforceable in accordance with its terms; and it is further

       RESOLVED, that the Authorized Person is hereby authorized to certify and deliver to any
person to whom such certification and delivery may be deemed necessary or desirable in the
opinion of the Authorized Person, a true copy of the foregoing resolutions; and it is further

         RESOLVED, that all actions heretofore taken, and all agreements, instruments, reports
and documents executed, delivered or filed through the date hereof, by the Authorized Person of
the Company in, for and on behalf of the Company, in connection with the matters described in or
contemplated by the foregoing resolutions, are hereby approved, adopted, ratified and confirmed
in all respects as the acts and deeds of the Company as of the date such action or actions were
taken; and it is further

       RESOLVED, that these resolutions shall be filed with the minutes of the proceedings of
the Board.



                                     [Signature Page Follows]




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       IN WITNESS WHEREOF, the undersigned, being all of the members of the Board, adopt
and authorize the foregoing resolutions as of the date first written above.




David Heidecorn, Chairman




David J. Gordon, Director




Michael Epstein, Director




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Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit A shall be completed and attached to the petition.]

                                                           [Caption as in Form 416B]


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

            1. If any of the debtor s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is _______________.

            2. The following financial data is the latest available information and refers to the debtor s condition on
        ______________.
              a. Total assets                                                           $

              b. Total debts (including debts listed in 2.c., below)                    $
              c. Debt securities held by more than 500 holders
                                                                                                                         Approximate
                                                                                                                         number of
                                                                                                                         holders:

              secured          unsecured        subordinated             $
              secured          unsecured        subordinated             $
              secured          unsecured        subordinated             $
              secured          unsecured        subordinated             $
              secured          unsecured        subordinated             $

              d. Number of shares of preferred stock
              e. Number of shares common stock

              Comments, if any:



              3. Brief description of debtor s business:



            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:




        Official Form 201A            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    BURGERFI INTERNATIONAL, INC., et al.,1                Case No. 24-_______ (___)

                     Debtors.                             (Joint Administration Requested)

              CORPORATE OWNERSHIP STATEMENT PURSUANT TO FEDERAL
                  RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

             Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

BurgerFi International, Inc. and its affiliated debtors and debtors in possession in the above

captioned cases respectfully represent as follows:

             BurgerFi International, Inc. is a publicly traded corporation. No publicly held corporation

owns 10% or more of its stock. The following non-public entities own 10% or more of its stock:

Lionheart Equities, LLC, Walleye Capital LLC, CG2 Capital LLC, and Lion Point Capital, LP.




1
      A list of all Debtors in these cases, along with the last four digits of each Debtors federal tax
      identification number, is available at https://cases.stretto.com/BFI. The Debtors mailing address is 200
      West Cypress Creek Rd., Suite 220, Fort Lauderdale, FL 33309.


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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    BURGERFI INTERNATIONAL, INC., et al.,1                  Case No. 24-__________

                            Debtors.                        (Joint Administration Requested)


                              LIST OF EQUITY SECURITY HOLDERS

             Attached hereto as Exhibit A is the list of the equity security holders of the above-

captioned lead debtor BurgerFi International, Inc., prepared in accordance with Rule 1007(a)(3)

of the Federal Rules of Bankruptcy Procedure.




1
      A complete list of all Debtors in these cases, along with the last four digits of each Debtors federal tax
      identification number, is available at https://cases.stretto.com/BFI. The Debtors mailing address is 200
      E Las Olas Blvd., Suite 1400, Fort Lauderdale, FL 33301.


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                                   EXHIBIT A
                          List of Equity Security Holders


 EQUITY HOLDER        ADDRESS                               SECURITY     QUANTITY

 A J ACKER
 TRUSTEE ANDREA
                      280 N COMPASS DR, FORT
 JANE ACKER                                                 COMMON
                      LAUDERDALE, FLORIDA,                               556,037
 REVOCABLE                                                  STOCK
                      33308-2019
 TRUST U/A DTD
 04/25/2008

 ACFP INVESTORS,      1660 NW 19TH AVE, POMPANO             PREFERRED
                                                                      9,006
 INC.                 BEACH, FLORIDA, 33069-1648            STOCK

                      ATTN ARTHUR FALCONE, 1
 AJF INVESTMENTS      TOWN CENTER RD STE 600,     COMMON
                                                                         94,340
 LLLP                 BOCA RATON, FLORIDA, 33486- STOCK
                      1040

 ALEXANDRA M                                                COMMON
                      ADDRESS ON FILE                                    1,438
 UPPERCO                                                    STOCK

                                                            COMMON
 ANDRE BARNES         ADDRESS ON FILE                                    181
                                                            STOCK

 ANDREW                                                     COMMON
                      ADDRESS ON FILE                                    2,358
 TALERICO                                                   STOCK

                                                            COMMON
 ANGELA ROSATTI       ADDRESS ON FILE                                    1,298
                                                            STOCK

                                                            COMMON
 ANNIE SCHWARTZ       ADDRESS ON FILE                                    1,438
                                                            STOCK

                                                            COMMON
 ANTHONY BRUNO        ADDRESS ON FILE                                    486
                                                            STOCK

                                                            PREFERRED
 ANTHONY BRUNO        ADDRESS ON FILE                                 335
                                                            STOCK


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 EQUITY HOLDER        ADDRESS                             SECURITY     QUANTITY


 BARBARA                                                  COMMON
                      ADDRESS ON FILE                                  4,915
 SCHWARTZ                                                 STOCK

 BETZALEL                                                 COMMON
                      ADDRESS ON FILE                                  70
 ROSENWASSER                                              STOCK

 BLASIUS                                                  COMMON
                      ADDRESS ON FILE                                  70,199
 KARMOWSKI                                                STOCK

                                                          COMMON
 BRENT E RIVAS        ADDRESS ON FILE                                  1,438
                                                          STOCK

 BRITTANY                                                 COMMON
                      ADDRESS ON FILE                                  693
 DEBAPTISTE                                               STOCK

                                                          COMMON
 CARL BACHMANN        ADDRESS ON FILE                                  63,500
                                                          STOCK

 CARLOS E                                                 COMMON
                      ADDRESS ON FILE                                  8,744
 WILLIAMSON NASI                                          STOCK

                      570 WASHINGTON BLVD,
                                                          COMMON
 CEDE & CO            JERSEY CITY, NEW JERSEY,                         26,478,269
                                                          STOCK
                      07310-1617
                      570 WASHINGTON BLVD,
 CEDE & CO            JERSEY CITY, NEW JERSEY,            WARRANTS 11,830,362
                      07310-1617
                      570 WASHINGTON BLVD,
                                                          PREFERRED
 CEDE & CO            JERSEY CITY, NEW JERSEY,                      1,845
                                                          STOCK
                      07310-1617

                                                          COMMON
 CEDRICK HATTEN       ADDRESS ON FILE                                  254
                                                          STOCK

 CHARLES
                                                          PREFERRED
 EDWARD LOCKE,        ADDRESS ON FILE                               468
                                                          STOCK
 JR.



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 EQUITY HOLDER        ADDRESS                             SECURITY     QUANTITY


 CHERI                                                    COMMON
                      ADDRESS ON FILE                                  737
 OVERHOLSER                                               STOCK

                                                          COMMON
 CHRISTIAN CLARK ADDRESS ON FILE                                       55
                                                          STOCK

 CHRISTINE                                                COMMON
                      ADDRESS ON FILE                                  958
 ALEXIS MORENO                                            STOCK

 CHRISTOPHER                                              PREFERRED
                      ADDRESS ON FILE                               251
 FUSARO                                                   STOCK

 CONTINENTAL
 STOCK TRANSFER
 & TRUST
 COMPANY AS
 ESCROW AGENT       1 STATE ST FL 30, NEW YORK,           COMMON
                                                                       94,340
 FOR BURGERFI       NEW YORK, 10004-1571                  STOCK
 HOLDINGS LLC &
 ANDREA JANE
 ACKER REV TRUST
 U/A DTD 04/25/2008
                    C/O CARDBOARD BOX, 599
 CP7 WARMING        WEST PUTNAM AVE,                      PREFERRED
                                                                    2,026,866
 BAG, L.P.          GREENWICH, CONNECTICUT,               STOCK
                    6830

                                                          COMMON
 CRAIG ORENSTEIN      ADDRESS ON FILE                                  163
                                                          STOCK

                                                          COMMON
 CYNTHIA ROGE         ADDRESS ON FILE                                  674
                                                          STOCK

 DANIEL C.                                                PREFERRED
                      ADDRESS ON FILE                               836
 MARINO, JR.                                              STOCK

                                                          COMMON
 DAVID NUSSBAUM       ADDRESS ON FILE                                  24,342
                                                          STOCK




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 EQUITY HOLDER        ADDRESS                             SECURITY    QUANTITY


                                                          COMMON
 DAVID TEPPER         ADDRESS ON FILE                                 943
                                                          STOCK

 DEBORAH A                                                COMMON
                      ADDRESS ON FILE                                 1,438
 GARCIA                                                   STOCK

 DEBRA A                                                  COMMON
                      ADDRESS ON FILE                                 719
 KILBRIDE                                                 STOCK

                                                          COMMON
 DONNA GUSMANO        ADDRESS ON FILE                                 346
                                                          STOCK

                                                          COMMON
 DYLAN ZELLAK         ADDRESS ON FILE                                 361
                                                          STOCK

                      1 HUNTINGTON QUAD STE
 EARLY BIRD                                               COMMON
                      1C15, MELVILLE, NEW YORK,                       14,309
 CAPITAL, INC.                                            STOCK
                      11747
                      1 HUNTINGTON QUAD STE
 EBC HOLDINGS                                             COMMON
                      1C15, MELVILLE, NEW YORK,                       90,680
 INC.                                                     STOCK
                      11747-4460

                                                          COMMON
 ELLEN GILMORE        ADDRESS ON FILE                                 100
                                                          STOCK

                                                          COMMON
 ELORA DUFFETT        ADDRESS ON FILE                                 177
                                                          STOCK

 ERICA M                                                  COMMON
                      ADDRESS ON FILE                                 1,438
 RODRIGUEZ                                                STOCK

                      ATTN RYAN SHAPIRO, 1160
 EVERGLADES
                      KANE CONCOURSE # 404, BAY           COMMON
 CAPITAL                                                              18,868
                      HARBOR ISLANDS, FLORIDA,            STOCK
 HOLDINGS LLC
                      33154-2053

                                                          COMMON
 FABER CALVO          ADDRESS ON FILE                                 388
                                                          STOCK



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 EQUITY HOLDER        ADDRESS                             SECURITY     QUANTITY


 FAQUIRY DIAZ         ADDRESS ON FILE                     WARRANTS 10,613

                      15 UNION AVE, UPPER SADDLE
                                                          PREFERRED
 FC PIZZA, LLC        RIVER, NEW JERSEY, 07458-                     3,074
                                                          STOCK
                      2406

 FERNANDO                                                 COMMON
                      ADDRESS ON FILE                                  36
 DAVILA                                                   STOCK

 FERNANDO                                                 COMMON
                      ADDRESS ON FILE                                  9,434
 ORTEGA                                                   STOCK

 FIDUS                1603 ORRINGTON AVE STE
                                                          COMMON
 INVESTMENT           1005, EVANSTON, ILLINOIS,                        14,201
                                                          STOCK
 CORPORATION          60201-5000
 FIDUS                1603 ORRINGTON AVE STE
                                                          PREFERRED
 INVESTMENT           1005, EVANSTON, ILLINOIS,                     9,787
                                                          STOCK
 CORPORATION          60201-5000
 FRANZESE
                      2639 N RIVERSIDE DR APT 202,
 FAMILY                                                   COMMON
                      POMPANO BEACH, FLORIDA,                          113
 REVOCABLE                                                STOCK
                      33062-1236
 TRUST
 FRANZESE
                      2639 N RIVERSIDE DR APT 202,
 FAMILY                                                   PREFERRED
                      POMPANO BEACH, FLORIDA,                       78
 REVOCABLE                                                STOCK
                      33062-1236
 TRUST
                      ATTN: RONNY GHEILER, 525
 GA REAL ESTATE                                           COMMON
                      BAY POINT RD, MIAMI,                             10,000
 HOLDINGS LLC                                             STOCK
                      FLORIDA, 33137-3303

 GENEVA                                                   COMMON
                      ADDRESS ON FILE                                  345
 FERNANDEZ                                                STOCK

 GUSTAVO A
                                                          COMMON
 MONDRAGON            ADDRESS ON FILE                                  1,022
                                                          STOCK
 MARQUEZ

                                                          COMMON
 GUSTAVO CUTIE        ADDRESS ON FILE                                  684
                                                          STOCK


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 EQUITY HOLDER        ADDRESS                             SECURITY     QUANTITY


                                                          COMMON
 HANIEL LECKY         ADDRESS ON FILE                                  28
                                                          STOCK

 HARRY                                                    COMMON
                      ADDRESS ON FILE                                  14,151
 WOLDENBERG                                               STOCK

                                                          COMMON
 HENRY TALERICO       ADDRESS ON FILE                                  2,358
                                                          STOCK

                      C/O CARDBOARD BOX, 599
 HOME TEAM            WEST PUTNAM AVE,                    PREFERRED
                                                                    33,489
 PIZZA, LLC           GREENWICH, CONNECTICUT,             STOCK
                      6830

                                                          COMMON
 ISSAC SAPOZNIK       ADDRESS ON FILE                                  2,000
                                                          STOCK

 ITAMAR BEN                                               COMMON
                      ADDRESS ON FILE                                  1,000
 SHMUEL                                                   STOCK

                                                          COMMON
 JACOB NEWMAN         ADDRESS ON FILE                                  163
                                                          STOCK

                                                          COMMON
 JAMAL HEADLEY        ADDRESS ON FILE                                  363
                                                          STOCK

                                                          PREFERRED
 JAMES WEIL           ADDRESS ON FILE                               30,600
                                                          STOCK

 JEFFREY MEAD                                             COMMON
                      ADDRESS ON FILE                                  102
 KURZON                                                   STOCK

                                                          COMMON
 JONATHAN MOY         ADDRESS ON FILE                                  727
                                                          STOCK

 JOSE ANTONIO                                             COMMON
                      ADDRESS ON FILE                                  7,722
 CANEDO WHITE                                             STOCK



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 EQUITY HOLDER        ADDRESS                             SECURITY    QUANTITY


                                                          COMMON
 JOSEPH BRAVO         ADDRESS ON FILE                                 693
                                                          STOCK

 JOSEPH M                                                 COMMON
                      ADDRESS ON FILE                                 1,438
 SALZBERG                                                 STOCK

 JUSTICE                                                  COMMON
                      ADDRESS ON FILE                                 243
 ALEXANDER                                                STOCK

                                                          COMMON
 KACY GONZALEZ        ADDRESS ON FILE                                 360
                                                          STOCK

 KELLY                                                    COMMON
                      ADDRESS ON FILE                                 1,276
 MACCALLUM                                                STOCK

                                                          COMMON
 KERSHA TERRY         ADDRESS ON FILE                                 365
                                                          STOCK

                                                          COMMON
 KEVIN COOPER         ADDRESS ON FILE                                 1,831
                                                          STOCK

 KEVIN-MITCHELL                                           COMMON
                      ADDRESS ON FILE                                 9
 CLEMENT                                                  STOCK

 KIMBERLY                                                 COMMON
                      ADDRESS ON FILE                                 28
 DEMPSEY                                                  STOCK


 KINGSLEY             ADDRESS ON FILE                     COMMON
                                                                      1,622
 GREENE                                                   STOCK


 KINGSLEY                                                 COMMON
                      ADDRESS ON FILE                                 1,800
 GREENE                                                   STOCK

                                                          COMMON
 LEE SCHWARTZ         ADDRESS ON FILE                                 1,415
                                                          STOCK



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 EQUITY HOLDER        ADDRESS                             SECURITY     QUANTITY


                                                          COMMON
 LEE VITELLI          ADDRESS ON FILE                                  1,438
                                                          STOCK

                                                          COMMON
 LESA SNYDER          ADDRESS ON FILE                                  360
                                                          STOCK

                      250 W 55TH ST, 33RD FLOOR
 LION POINT
                      NY NY, NEW YORK, NEW                WARRANTS 2,083,438
 MASTER LP
                      YORK, 10019-9710

 LION POINT           250 W 55TH ST FL 33, NEW            PREFERRED
                                                                    300,000
 MASTER, LP           YORK, NEW YORK, 10019-9710          STOCK

                      ATTN JESSICA
 LIONHEART            WASSERSTROM, 4218 NE 2ND
                                                          WARRANTS 1,139,387
 EQUITIES LLC         AVE, MIAMI, FLORIDA, 33137-
                      3520

                                                          COMMON
 MALIK HEADLEY        ADDRESS ON FILE                                  190
                                                          STOCK

                                                          COMMON
 MANNY NETO           ADDRESS ON FILE                                  388
                                                          STOCK

 MARC JAY                                                 PREFERRED
                      ADDRESS ON FILE                               308
 PFEFFER                                                  STOCK

                                                          COMMON
 MARIA DELEGAL        ADDRESS ON FILE                                  511
                                                          STOCK

                                                          PREFERRED
 MARIA DELEGAL        ADDRESS ON FILE                               352
                                                          STOCK

 MARTHA
                                                          COMMON
 (STORMY)             ADDRESS ON FILE                                  10,000
                                                          STOCK
 BYORUM

 MARTHA                                                   COMMON
                      ADDRESS ON FILE                                  10,000
 STEWART                                                  STOCK



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 EQUITY HOLDER        ADDRESS                             SECURITY    QUANTITY


 MAURO                                                    COMMON
                      ADDRESS ON FILE                                 17,087
 CONIJESKI                                                STOCK

 MELISSA                                                  COMMON
                      ADDRESS ON FILE                                 191
 CAMPBELL                                                 STOCK

                                                          COMMON
 MICHAEL HISLOP       ADDRESS ON FILE                                 11,502
                                                          STOCK

                                                          COMMON
 MICHAEL KATZ         ADDRESS ON FILE                                 100
                                                          STOCK

 MICHAEL                                                  COMMON
                      ADDRESS ON FILE                                 715
 KIERNAN                                                  STOCK

 MICHAEL                                                  COMMON
                      ADDRESS ON FILE                                 774
 SPENCER                                                  STOCK

 MICHELANGELO                                             PREFERRED
                      ADDRESS ON FILE                               335
 MOZZICATO                                                STOCK

 MICHELLE L                                               COMMON
                      ADDRESS ON FILE                                 6,709
 ZAVOLTA                                                  STOCK

 MIRANDA                                                  COMMON
                      ADDRESS ON FILE                                 111
 ARMSTRONG                                                STOCK

                                                          COMMON
 MOSES TREUHAFT       ADDRESS ON FILE                                 283
                                                          STOCK

                                                          COMMON
 MOSHE WEISER         ADDRESS ON FILE                                 100
                                                          STOCK

 N.A. CASTALDO        333 LAS OLAS WAY APT 1110,
                                                          PREFERRED
 SEPARATE             FT LAUDERDALE, FLORIDA,                       335
                                                          STOCK
 PROPERTY TRUST       33301-2381



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 EQUITY HOLDER        ADDRESS                              SECURITY    QUANTITY


                                                           COMMON
 NADIA CRONK          ADDRESS ON FILE                                  6,326
                                                           STOCK

                                                           COMMON
 NATHAN YOUNG         ADDRESS ON FILE                                  371
                                                           STOCK

                      ATTN DR GHEILER & DR
 NIMO EQUIPMENT                                            COMMON
                      BIANCO, 2140 WV 68TH ST STE                      18,868
 LLC                                                       STOCK
                      200, HIALEAH, FLORIDA, 33016
                      4180 N 42ND AVE,
                                                 COMMON
 NOAVEE CORP          HOLLYWOOD, FLORIDA, 33021-                       17,959
                                                 STOCK
                      1824

 PATRICK F.                                                PREFERRED
                      ADDRESS ON FILE                                335
 MARZANO                                                   STOCK

                      ATTN TODD ROSENBERG, 7900
 PEBB BURGERFI                                             COMMON
                      GLADES RD STE 540, BOCA                          28,302
 LLC                                                       STOCK
                      RATON, FLORIDA, 33434-4188

                                                           COMMON
 RAVEN MAGWOOD ADDRESS ON FILE                                         361
                                                           STOCK

 REBECCA H                                                 COMMON
                      ADDRESS ON FILE                                  719
 GOLLIN                                                    STOCK

 ROBERTO                                                   COMMON
                      ADDRESS ON FILE                                  9,434
 WOLDENBERG                                                STOCK

 ROCKMAR
                      1660 NW 19TH AVE, POMPANO            PREFERRED
 MANAGEMENT                                                          400
                      BEACH, FLORIDA, 33069-1648           STOCK
 LLC

                                                           COMMON
 RODNEY L. GUINN      ADDRESS ON FILE                                  154
                                                           STOCK

                                                           PREFERRED
 RODNEY L. GUINN      ADDRESS ON FILE                                107
                                                           STOCK



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 EQUITY HOLDER        ADDRESS                              SECURITY    QUANTITY


 RONALD M.                                                 COMMON
                      ADDRESS ON FILE                                  340
 DINELLA                                                   STOCK

 RONALD M.                                                 PREFERRED
                      ADDRESS ON FILE                                234
 DINELLA                                                   STOCK

                                                           PREFERRED
 RORY SCHMICK         ADDRESS ON FILE                                268
                                                           STOCK

 SALOMON JOSEPH                                            COMMON
                      ADDRESS ON FILE                                  9,434
 WOLDENBERG                                                STOCK

 SAMUEL                                                    COMMON
                      ADDRESS ON FILE                                  1,887
 SCHWARTZ                                                  STOCK

                                                           PREFERRED
 SAMUEL WEISS         ADDRESS ON FILE                                335
                                                           STOCK

                 ATTN GIL BONWITT, 1660 NE
                                                           COMMON
 SCHECK ALPHA LP MIAMI GARDENS DR STE 4,                               9,434
                                                           STOCK
                 MIAMI, FLORIDA, 33179-4924

 SHANNON                                                   COMMON
                      ADDRESS ON FILE                                  128
 ACHILARRE                                                 STOCK

 SHANNON                                                   PREFERRED
                      ADDRESS ON FILE                                89
 ACHILARRE                                                 STOCK

                                                           COMMON
 SOLOMON PUGH         ADDRESS ON FILE                                  111
                                                           STOCK

                                                           PREFERRED
 SONYA CARNES         ADDRESS ON FILE                                267
                                                           STOCK

 STEPHEN DAVID                                             COMMON
                      ADDRESS ON FILE                                  2,350
 LIEBER                                                    STOCK



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 EQUITY HOLDER        ADDRESS                              SECURITY    QUANTITY


                                                           COMMON
 STEVEN JEGER         ADDRESS ON FILE                                  2,000
                                                           STOCK

                                                           COMMON
 STEVEN LEVINE        ADDRESS ON FILE                                  24,342
                                                           STOCK

 STEVEN R                                                  COMMON
                      ADDRESS ON FILE                                  5,000
 BERRARD                                                   STOCK

                      ATTN MOISES WOLDENBERG,
                      1100 NW LOOP 410 STE 601,            COMMON
 TASTIC LLC                                                            9,434
                      SAN ANTONIO, TEXAS, 78213-           STOCK
                      2257

 TIMOTHY                                                   COMMON
                      ADDRESS ON FILE                                  55
 CARPENTER                                                 STOCK

                                                           COMMON
 TIMOTHY SMITH        ADDRESS ON FILE                                  473
                                                           STOCK

 TOMMILU                                                   COMMON
                      ADDRESS ON FILE                                  2,875
 WAHRMAN                                                   STOCK

                                                           COMMON
 TZVI ROSEN           ADDRESS ON FILE                                  4,800
                                                           STOCK

 VANESSA                                                   COMMON
                      ADDRESS ON FILE                                  28
 BELLEVUE                                                  STOCK

                      PICTEL & CIE EUROPE SA,
 VENTURE
                      ATTN: MAAREL VAHATALO                COMMON
 HOLDING S.A.R.L.                                                      200,000
                      DAVEY, 15A AVE J.F                   STOCK
 SPF
                      KENNEDY, LUXEMBORG

                                                           COMMON
 VIRGINIA ELVIN       ADDRESS ON FILE                                  199
                                                           STOCK

 WILLIAM                                                   COMMON
                      ADDRESS ON FILE                                  325
 HORNBERGER                                                STOCK


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 EQUITY HOLDER        ADDRESS                              SECURITY    QUANTITY


 YEVGEN                                                    COMMON
                      ADDRESS ON FILE                                  1,429
 NESTEROV                                                  STOCK

                                                           COMMON
 YOSEF FISHMAN        ADDRESS ON FILE                                  250
                                                           STOCK




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      Fill in this information to identify the case:

      Debtor name     BurgerFi International, Inc., et al.
      United States Bankruptcy Court for the:                             District of    Delaware
                                                                                        (State)
                                                                                                                                                     Check if this is an
      Case number (If known):
                                                                                                                                                     amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have
    the 50 Largest Unsecured Claims and Are Not Insiders                                                                                                          12/15

    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and             Nature of the    Indicate if   Amount of unsecured claim
     mailing address, including zip code         email address of creditor               claim (for       claim is      If the claim is fully unsecured, fill in only unsecured
                                                 contact                                 example, trade   contingent, claim amount. If claim is partially secured, fill in
                                                                                         debts, bank      unliquidated, total claim amount and deduction for value of
                                                                                         loans,           or disputed collateral or setoff to calculate unsecured claim.
                                                                                         professional
                                                                                         services, and
                                                                                                                          Total claim, if   Deduction for      Unsecured
                                                                                                                          partially         value of           claim
                                                                                                                          secured           collateral or
                                                                                                                                            setoff

1    9-27 Natick LLC
     c/o Crospoint Associates
     300 Third Ave                              mredfern@finardproperties.com           Rent              CUD                                                 Undetermined
     Suite 2
     Waltham, MA 02451
     Causeway Square, LLC
2
     1801 NE 123rd St
                                                ltauber@taubco.com                      Rent              CUD                                                 Undetermined
     Suite 300
     North Miami, FL 33181
     Centre Square Commons Power
3
     120 N Pointe Blvd
                                                bpersinger@paramountrealty.com Rent                       CUD                                                 Undetermined
     Suite 301
     Lancaster, PA 17601
     Deno Dikeou Trust
4
     543 N Wymore Rd
                                                rachel@dikeourealty.com                 Rent              CUD                                                 Undetermined
     Suite 106
     Maitland, FL 32751
     Fairmont Residential Owner LLC
5
     dba Windsor Bethesda
                                    akaye@cimgroup.com                                   Rent             CUD                                                 Undetermined
     7770 Norfolk Ave
     Bethesda, MD 20814

6    Federal Realty Investmenttrust
     1626 East Jefferson St                     jfischer@federalrealty.com               Rent             CUD                                                 Undetermined
     Rockville, MD 20852-4041

     Palm Beach Marketplace LLC
7
     1027 North Federal Mango Rd
                                                lewis@dezielcompany.com                 Rent              CUD                                                 Undetermined
     Suite 225
     Palm Beach, FL 33409
     Kite Eagle Creek, LLC
8
     30 S Meridian St
                                                rmcquinness@kiterealty.com              Rent              CUD                                                 Undetermined
     Suite 1100
     Indianapolis, IN 46204


    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
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    Debtor
                   BurgerFi International, Inc., et al.                                        Case number (if known)
                 Name




     Name of creditor and complete mailing     Name, telephone number, and         Nature of     Indicate if Amount of unsecured claim
     address, including zip code               email address of creditor contact   the claim     claim is    If the claim is fully unsecured, fill in only unsecured
                                                                                   (for example, contingent, claim amount. If claim is partially secured, fill in
                                                                                   trade debts, unliquidated total claim amount and deduction for value of
                                                                                   bank loans, , or          collateral or setoff to calculate unsecured claim.
                                                                                   professional disputed
                                                                                   services, and
                                                                                                                  Total claim, if   Deduction for    Unsecured
                                                                                                                  partially         value of         claim
                                                                                                                  secured           collateral or
                                                                                                                                    setoff


9    Creekside East Inc.
     2600 Golden Gate Pkwy                   broddy@barroncollier.com              Rent          CUD                                                Undetermined
     Naples, FL 34105

     Atlantic Commons Commercial, LLC
10
     1600 Sawgrass Corp Parkway
                                      david.dicaprio@glhomes.com                   Rent          CUD                                                Undetermined
     Suite 400
     Sunrise, FL 33323
     TA Pines City Center, LLC
11
     201 E Las Olas Blvd
                                             laura.giardi@stiles.com               Rent          CUD                                                Undetermined
     Suite 1200
     Ft Lauderdale, FL 33301
     Seminole Shoppes
12
     One Independent Dr
                                             tekirriagilbert@regencycenters.com Rent             CUD                                                Undetermined
     Suite 114
     Jacksonville, FL 32202-5019
     Chasewood Plaza
13
     One Independent Dr
                                             heathergilbert@regencycenters.com Rent              CUD                                                Undetermined
     Suite 114
     Jacksonville, FL 32202-5019

14 Real Sub LLC
   3300 Publix Corporate Pkwy                taylor.mcauley@publix.com             Rent          CUD                                                Undetermined
   Lakeland, FL 33811

     Bond Street Fund 16, LLC
15
     850 Morrison Dr
                                             walker.m@bondstreetreit.com           Rent          CUD                                                Undetermined
     Suite 500
     Charleston, SC 29403
   Waverly Realty, LLC
16
   1870 N Corporate Lakes Blvd
                                             filmanmanagement@gmail.com            Rent          CUD                                                Undetermined
   #266228
   Weston, FL 33326
   RK Hallandale, LLP
17 RK Centers
   17100 Collins Ave                         dankatz@rkcenters.com                 Rent          CUD                                                Undetermined
   Suite 225
   Sunny Isles Beach, FL 33160
   Meridian 1674, LLC
18
   1111 Brickell Ave
                                             tcalero@azoraexan.com                 Rent          CUD                                                Undetermined
   Suite 2175
   Miami, FL 33131
     Garden City Owner LLC
19                                           cathy.estey@wsdevelopment.com
     33 Boylston St
                                             morgan.hertenstein@wsdevelopment Rent               CUD                                                Undetermined
     Suite 3000
                                             .com
     Chestnut Hill, MA 2467
     Kensa Cranberry Associates LP
20
     c/o Echo Real Estate Svcs Co
                                             clegalnotices@echorealty.com          Rent          CUD                                                Undetermined
     PO Box 25797
     Tampa, FL 33630


    Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
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     Name of creditor and complete mailing    Name, telephone number, and         Nature of     Indicate if Amount of unsecured claim
     address, including zip code              email address of creditor contact   the claim     claim is    If the claim is fully unsecured, fill in only unsecured
                                                                                  (for example, contingent, claim amount. If claim is partially secured, fill in
                                                                                  trade debts, unliquidated total claim amount and deduction for value of
                                                                                  bank loans, , or          collateral or setoff to calculate unsecured claim.
                                                                                  professional disputed
                                                                                  services, and
                                                                                                               Total claim, if   Deduction for      Unsecured
                                                                                                               partially         value of           claim
                                                                                                               secured           collateral or
                                                                                                                                 setoff


21 Clifton Lifestyle Center LLC
   78 Okner Pkwy                             tstevens@briad.com                   Rent           CUD                                              Undetermined
   Livingston, NJ 07039

     200 W Cypress Creek Holdings LLC
22
     6700 N Andrews Ave               karla.barrera@am.jll.com
                                                                                  Rent           CUD                                              Undetermined
     Suite 106                        jeanne.baumgart@am.jll.com
     Fort Lauderdale, FL 33309
     Massachusetts Department Of Family
23
     And Medical Leave
                                        F: 617-855-6180                           Trade Claim CUD                                                 Undetermined
     PO Box 838
     Lawrence, MA 08142

24 Dania Pointe Burger Guys
                                                                                  Commercial
   11 S Pointe Dr                                                                            CUD                                                  Undetermined
                                                                                  Litigation
   Dania Beach, FL 33004

     US Foods Inc
25
     9399 W Higgins Rd                       adriana.mitchell@usfoods.com
                                                                                  Trade Claim                                                      $1,681,667.09
     Suite 1000                              chelsea.mcintosh@usfoods.com
     Rosemont, IL 60018
     Lion Point Capital
26
     250 W 55th St                                                                Shareholder
                                             dcederholm@lionpoint.com                                                                               $675,000.00
     33rd Floor                                                                   Litigation
     New York, NY 10019

27 Sysco Corporation
   1390 Enclave Pkwy                         carissa.scdoris@sysco.com            Trade Claim                                                       $390,639.60
   Houston, TX 77077

     Produce Alliance
28
     2275 Half Day Rd
                                             paula.wade@producealliance.com       Trade Claim                                                       $335,415.06
     Suite 337
     Bannockburn, IL 60015

29 Newville Collaborative, LLC
                                                                                  Professional
   3600 Orchard Way                          jason.newville@kosedigital.com                                                                         $283,921.00
                                                                                  Services
   Minnestonka, MN 55305

     Holland & Knight
30                                           enrique.conde@hklaw.com
     100 N Tampa St                                                               Professional
                                             bradley.houser@hklaw.com                                                                               $261,777.33
     Suite 4100                                                                   Services
                                             david.wirt@hklaw.com
     Tampa, FL 33602




  Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                                Case 24-12017-CTG                Doc 1      Filed 09/11/24            Page 31 of 33



     Name of creditor and complete          Name, telephone number, and email   Nature of     Indicate if Amount of unsecured claim
     mailing address, including zip code    address of creditor contact         the claim     claim is    If the claim is fully unsecured, fill in only unsecured
                                                                                (for example, contingent, claim amount. If claim is partially secured, fill in
                                                                                trade debts, unliquidated total claim amount and deduction for value of
                                                                                bank loans, , or          collateral or setoff to calculate unsecured claim.
                                                                                professional disputed
                                                                                services, and
                                                                                                             Total claim, if   Deduction for      Unsecured
                                                                                                             partially         value of           claim
                                                                                                             secured           collateral or
                                                                                                                               setoff

31 KPMG
                                                                                Professional
   3 Chestnut Ridge Rd                     giovanniacosta@kpmg.com                                                                                $202,500.00
                                                                                Services
   Montvale, NJ 7645

     Boca's Best Burgers
32
     Attn: Michele Mccauley                                                     Commercial
                                           bocamomof5@mac.com                                                                                     $200,206.20
     3115 South Federal Hwy                                                     Litigation
                                           deg52@comcast.net
     Delray Beach, FL 33433

33 Florida Blue
   PO Box 1798                             F: 813-806-1428                      Trade Claim                                                       $199,218.54
   Jacksonville, FL 32231-0014

34 Hanna Essentials, Inc
   1494 Kings Ln                           sathish@strativ.co                   Trade Claim                                                       $185,000.00
   Palo Alto, CA 94303

     Merge West Inc
35
     200 East Randolph St
                                           ar@mergeworld.com                    Trade Claim                                                       $171,256.81
     Suite 3450
     Chicago, IL 60601
     Mindstream Media Group, LLC
36
     1717 Main St
                                                                                Trade Claim                                                       $155,441.22
     40th Floor                            akrueger@mindstreammediagroup.com
     Dallas, TX 75201

37 US Small Business Administration
   409 3rd St, SW                   covideidlservicing@sba.gov                  Funded debt                                                       $153,821.71
   Washington, DC 20416

38 Get Engaged Media LLC
   PO BOX 52878                                                                 Trade Claim                                                       $139,562.37
                                           accounting@getengagedmedia.com
   Atlanta, GA 30355




  Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                                Case 24-12017-CTG                 Doc 1     Filed 09/11/24             Page 32 of 33



     Name of creditor and complete          Name, telephone number, and   Nature of the        Indicate if   Amount of unsecured claim
     mailing address, including zip code    email address of creditor     claim (for           claim is      If the claim is fully unsecured, fill in only unsecured
                                            contact                       example, trade       contingent, claim amount. If claim is partially secured, fill in
                                                                          debts, bank loans,   unliquidated, total claim amount and deduction for value of
                                                                          professional         or disputed collateral or setoff to calculate unsecured claim.
                                                                          services, and
                                                                          government
                                                                                                               Total claim, if   Deduction for      Unsecured
                                                                                                               partially         value of           claim
                                                                                                               secured           collateral or
                                                                                                                                 setoff

     Pembroke Lakes Square LLC
39
     101 Plaza Real South
                                           leaseadministrator@rpg123.com Rent                                                                        $109,772.74
     Suite 200
     Boca Raton, FL 33432

40 Edward Don & Company LLC
   9801 Adam Don Pkwy                      stephaniehidalgo@don.com       Trade Claim                                                                $109,261.26
   Woodridge, IL 60517-8136

     Kroll
41
     55 East 52nd St                                                      Professional
                                           don.levy@kroll.com                                                                                        $108,575.95
     17th Floor                                                           Services
     New York, NY 10055

42 Saul Ewing LLP
                                                                          Professional
   1500 Market St, Floor 38                joeli.weidman@saul.com                                                                                    $105,121.66
                                                                          Services
   Philadelphia, PA 19102-2128

     SG Family Corporation
43
     1185 Sixth Ave
                                           davidm@solil.com               Rent                                                                       $96,840.28
     10th Floor
     New York, NY 10036
     Advaion LLC
44
     1961 NW 150th Ave                                                    Professional
                                           pavan.satyaketu@advaion.com                                                                               $92,393.75
     Suite 201                                                            Services
     Pembroke Pines, FL 33028
     Point-LC1 LLC
45
     c/o KeyPoint Partners, LLC            cserrano@keypointpartners.com
                                                                         Rent                                                                        $90,925.02
     One Burlington Woods Dr               abusconi@keypointpartners.com
     Burlington, MA 1803

46 Universal Env Consulting Inc
   266 Bangor St                           lgiaquinto@uecny.com           Trade Claim                                                                $90,541.42
   Lindenhurst, NY 11757

     Marcum LLP
47
     One SE Third Ave                                                     Professional
                                           bryan.dees@marcumllp.com                                                                                  $89,370.73
     Suite 1100                                                           Services
     Miami, FL 33131
     Reach Pros, Inc
48
     30700 Russelle Ranch Rd
                                           billing@merchantcentric.com    Trade Claim                                                                $75,279.83
     Suite 250
     Westlake Village, CA 91362

49 Northboro Builders Inc.
   126 E Luccerne Cir                      info@northborobuilders.com     Trade Claim                                                                $69,239.50
   Orlando, FL 32801

     Velosio, LLC
50
     5747 Perimeter Dr
                                           staylor@velosio.com            Trade Claim                                                                $61,905.77
     Suite 200
     Dublin, OH 43017




  Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
                              Case 24-12017-CTG                     Doc 1        Filed 09/11/24          Page 33 of 33


Fill in this information to identify the case and this filing:


  Debtor Name: __BurgerFi International, Inc.___________________________________________


  United States Bankruptcy Court for the: ______________________ District of Delaware
                                                                              (State)
Case number (If known):   _________________________


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and
any amendments of those documents. This form must state the individuals position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.


             Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
         individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: AssetsReal and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

            Other document that requires a declaration           Corporate Ownership Statement, List of Equity Security Holders, Official Form 201A
         I declare under penalty of perjury that the foregoing is true and correct.



Executed on __9/11/2024_____              __/s/ Jeremy Rosenthal__________________________________________
                                          Signature of individual signing on behalf of debtor

                                          Jeremy Rosenthal______________________________________________
                                          Printed Name:

                                          Chief Restructuring Officer_______________________________________
                                          Position or relationship to debtor




Official Form 202                Declaration Under Penalty of Perjury for Non-Individual Debtors
